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             IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

JULIE JACKSON,                             )
                                           )
              Plaintiff,                   )
                                           )   Civil Action No:1:21-CV-04706-MLB-CMS
                                                                ______
V.                                         )
                                           )   JURY TRIAL DEMANDED
ACCELERATE 360, LLC,                       )
                                           )
              Defendant.                   )


                                 COMPLAINT

      Plaintiff Julie Jackson (“Jackson” or “Plaintiff”) brings this civil rights

action for relief and damages against Defendant Accelerate 360, LLC

(“Accelerate 360” or “Defendant”) based on the following allegations and causes

of action:




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                         NATURE OF THE ACTION

      1.    This action arises under Title VII of the Civil Rights Act of 1964

(“Title VII”) as amended, 42 U.S.C.A. § 2000e et seq., to correct unlawful

employment practices based on sex and retaliation. Plaintiff alleges that she was

subjected to sexual harassment by an upper-level management figure while

employed by Defendant, and that when she reported this discriminatory conduct,

she was subjected to retaliation and soon after terminated.         Plaintiff seeks

economic damages, including back pay, noneconomic compensatory damages, and

punitive damages, as well as attorneys’ fees and costs of litigation. Plaintiff also

petitions the court for injunctive relief enjoining Defendant from maintaining a

workplace where employees are subjected to a hostile environment based on their

sex, and from discharging employees for engaging in protected activity.

                               THE PARTIES

      2.    Plaintiff Jackson, an African American female, is a resident of

Georgia. During the time of the events alleged in this complaint, Jackson was




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employed by Defendant at its corporate headquarters at 1955 Lake Park Drive in

Smyrna, Georgia, which is located in Cobb County.

       3.       Accelerate 360 is a worldwide media company specializing in sales,

distribution, logistics, and data collection. It is the largest wholesale magazine

distributor in North America and owns more than 30 media brands, including the

National Enquirer, US Weekly, and Men’s Journal. The company employs well

over 15 persons.

       4.       Accelerate 360 is an employer covered under Title VII in that it is

engaged in an industry affecting commerce pursuant to 42 U.S.C.A. § 2000e(b),

(g), and (h).

                SUBJECT MATTER JURISDICTION AND VENUE

       5.       Jurisdiction of this court is invoked pursuant to 28 U.S.C.A. §§ 1331

and 1343.




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      6.     Venue is proper in this district and division under 28 U.S.C.A. § 1391

as Defendant conducts business, and the alleged unlawful acts occurred, in this

district and division.

                         PERSONAL JURISDICTION

      7.      Defendant may be served with process concerning this civil action in

accordance with Fed. R. Civ. P. Rule 4.

      8.     Defendant may be served with process concerning this civil action

through its registered agent on record with the Georgia Secretary of State: C T

Corporation System, at 289 S. Culver St., Lawrenceville, GA 30046-4805.

               EXHAUSTION OF ADMINISTRATIVE REMEDIES

      9.     Jackson filed a charge of sex discrimination and retaliation against

Accelerate 360 with the Equal Employment Opportunity Commission (“EEOC”),

Charge No. 420-2021-03531, on April 19, 2021. A copy is attached as Exhibit A.

      10.    The EEOC issued Jackson a Right to Sue letter on October 20, 2021.

A copy is attached as Exhibit B.




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       11.    Jackson timely files this action within 90 days of the issuance of a

Right to Sue letter.

       12.    All administrative remedies have been satisfied prior to the filing of

this civil action.

                          FACTUAL ALLEGATIONS

       13.    In September 2020, Jackson was hired as a sales manager for

Accelerate 360. Her duties involved handling customer orders for media inventory

and managing the delivery of products to distribution centers.

       14.    Jackson’s employment letter explicitly states that she would work

primarily remotely, spending only “occasional days in the Smyrna central office.”

Jackson worked out an arrangement in which she would report to the office two

days a week, subject to scheduling changes approved by one of her supervisors.

       15.    Jackson reported directly to two senior-level company officials: Mike

Hornigold, the Executive Vice President of Digital Operations, and John Perner,

the Senior Vice President of Sales.




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      16.    On the days Jackson worked out of the Smyrna central office, she

regularly encountered Perner. From the early weeks of her employment, Perner, a

white male, demonstrated an unprofessional level of interest in Jackson, telling her

that he found her attractive, that certain outfits she wore were appealing to him,

and often staring at Jackson in a manner that made her feel objectified and

profoundly uncomfortable.

      17.    Perner also made various blatantly offensive, sexually tinged remarks

to Jackson. On several occasions, he commented on his sexual affinity for black

women and made vulgar references to sex acts he claimed to have engaged in with

black women.

      18.    Jackson made it clear to Perner she had no sexual interest in him and

found his behavior, as a married man and as a senior executive who supervised her

work, to be entirely inappropriate.

      19.    As Jackson rebuffed Perner, his behavior toward her started to become

hostile and verbally abusive. He began to find fault with aspects of her work, often




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reproaching her with a raised voice. He would switch back and forth between this

abusive approach and sexual innuendo and bravado aimed at Jackson.

      20.    Jackson sought advice from colleagues as to how to deal with Perner’s

persistent mix of harassment and bullying. Several employees discouraged her

from reporting Perner on the grounds that he had “too much power” at Accelerate

360 and that she would only be risking her employment.

      21.    On March 1, 2020, Jackson found herself alone with Perner in a

merchandise storage room.      Perner stunned Jackson by forcibly touching her,

thrusting the front of his body against her hips while she was lifting some items; It

took Jackson’s scream to stop this assault from escalating.

      22.    Jackson immediately reported this forcible encounter to Hornigold,

her other direct supervisor, who instructed her to meet with him and Perner the

next day in person.

      23.    Jackson fully expected the focus of this meeting would be her

reporting of a forced physical encounter with Perner.         Instead, the two men

admonished her with complaints about her handling of her job as a sales manager,




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and threatened her with termination unless she consented to sign a performance

improvement plan on the spot. Prior to this meeting, Hornigold had effusively

praised Jackson’s work and she had recently received a bonus based on her success

as a sales manager.

      24.      To underscore the intimidation, as the meeting ended, Hornigold

derisively told Jackson, “Now that you understand your new reality, we can go on

from here.”

      25.     At no point during the March 2 meeting was Jackson’s reporting of

Perner’s harassing and assaultive conduct acknowledged or addressed by Jackson’s

two supervisors. Nor was Jackson subsequently contacted by the human resources

or legal departments with which Hornigold should have shared her allegations, and

which would have been tasked with investigating potential misconduct by an

employee.

      26.     On March 9, 2021, Jackson sent an email to a group of central office

staff and executives stating that she had been subjected to a pattern of verbal abuse,




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mistreatment, and sexual harassment by Perner, and describing the intimidation she

experienced in the March 2 meeting.

      27.   Two days after the group email, on March 11, 2021, Jackson was

abruptly informed by the Executive Vice President of Human Relations, Mike

Rogge, that she was being terminated for not reporting to the office on March 9 or

March 11.

      28.   In fact, Jackson had obtained permission from Hornigold to work

from home on both March 9 and March 11. In no way was her absence unexcused,

and Jackson had routinely been given leeway to alter her in-office schedule with

supervisory approval.

      29.   Jackson’s sudden firing came within nine days of her reporting to a

management-level figure that she was the victim of a forced physical encounter

and had been sexually harassed, and within two days of a widely distributed email

from Jackson to company employees alleging sexual harassment and mistreatment.




                                   COUNT I




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            (Hostile Work Environment in Violation of Title VII)
      30.    Plaintiff incorporates by reference all the preceding paragraphs of this

complaint as though set forth fully and separately herein.

      31.    Plaintiff was subjected to harassment on the basis of sex repeatedly

during her employment by Defendant.            She was constantly propositioned and

forcibly touched by a senior corporate officer to whom she reported and who

functioned as one of her direct supervisors.

      32.    The harassment Plaintiff experienced was so severe and pervasive that

it altered the terms and conditions of her employment and created a

discriminatorily abusive work environment.

      33.    Higher-level management officials employed by Defendant acted with

malice or with reckless indifference to Plaintiff’s federally protected rights. See 42

U.S.C.A. § 1981a (b)(1).

      34.    As a result of Defendant’s discriminatory actions, Plaintiff has

suffered monetary damages, including but not limited to back pay; and




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noneconomic compensatory damages, including emotional distress, humiliation,

embarrassment, and mental anguish.

                                COUNT II
                    (Retaliation in violation of Title VII)
      35.    Plaintiff incorporates by reference all the preceding paragraphs of this

complaint as though set forth fully and separately herein.

      36.    Defendant retaliated against Plaintiff for engaging in protected

activity in violation of 42 U.S.C.A. § 2000e-3(a).

      37.    Because Plaintiff engaged in protected activity in the form of making

internal complaints regarding sexual harassment, she experienced materially

adverse retaliatory actions by Defendant that well might have dissuaded Plaintiff

from making or supporting a charge of discrimination, including an unjustified

performance improvement plan, threatened termination, and subsequent actual

termination on pretextual grounds.

      38.    As a result of Defendant’s retaliatory conduct, Plaintiff has suffered

monetary damages, including but not limited to back pay and noneconomic




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damages, including emotional distress, humiliation, embarrassment, and mental

anguish.

      39.      Higher-level management officials employed by Defendant acted with

malice or with reckless indifference to Plaintiff’s federally protected rights. See 42

U.S.C.A. § 1981a (b)(1).

                                PRAYER FOR RELIEF

      Wherefore, based on the above-stated claims, Plaintiff demands a trial by

jury and that all the following relief be granted:

            A. Back pay.

            B. Compensatory damages to the extent allowed by law.

            C. Punitive damages.

            D. Attorneys’ fees and costs of litigation.

            E. Pre-judgment and post-judgment interest at the highest lawful rate.

            F. A permanent injunction enjoining Defendant and its employees or

               agents from maintaining a hostile work environment based on an




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       employee’s sex and/or from discharging an employee for engaging in

       protected activity.

    G. A declaratory judgment that Defendant’s actions violated Plaintiff’s

       rights under Title VII.

    H. Such other equitable and monetary relief as the Court deems just and

       proper.

 Respectfully submitted, this 15th day of November, 2021.



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